                                                                     FORM 1
                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:      1
                                                                   ASSET CASES
Case No:            15-03065         HAC Judge: HENRY A. CALLAWAY                                 Trustee Name: LYNN HARWELL ANDREWS
Case Name:          GRAHAM GULF, INC.                                                             Date Filed (f) or Converted (c):      10/11/16 (c)
                                                                                                  341(a) Meeting Date:                  11/14/16
 For Period Ending: 11/04/19
                                                                                                  Claims Bar Date:                      01/31/17


                                 1                                 2                         3                  4               5                           6
                                                                                    Estimated Net Value
                                                                                     (Value Determined       Property                                  Asset Fully
                                                                Petition/             by Trustee, Less       Formally       Sale/Funds             Administered (FA)/
                         Asset Description                     Unscheduled           Liens, Exemptions,     Abandoned       Received by         Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)           Values               and Other Costs)      OA=554(a)        the Estate                  Assets

 1. ACCOUNT RECEIVABLE FROM ENTERGY                                          0.00                 791.14                              791.14               FA
 LOUISIANA, LLC (u)
    (secured to Wells Fargo) RFS granted C.O. 11-10-16
 2. BANK ACCOUNT                                                 1,139,741.31                 15,000.00                         15,000.00                  FA
    REGIONS BANK - ACCOUNT SET FORTH IN INTERIM
    CASH COLLATERAL ORDER. PORTION OF BANK
    ACCOUNT PAID PURSUANT TO ORDER GRANTING
    MOTION OF WELLS FARGO BANK, N.A. FOR RELIEF
    FROM STAY dated 11-10-16 (secured to Wells Fargo
    Bank)
 3. ACCOUNT RECEIVABLE FROM ENTERGY                                          0.00                  82.25                               82.25               FA
 LOUISIANA, LLC (u)
    (secured to Wells Fargo) RFS granted C.O. 11-10-16
 4. ACCOUNTS RECEIVABLE                                                9,510.50                      0.00                            9,510.50              FA
    2009 FORD F350 PASSENGER BUS - AUCTION
    PROCEEDS 2016/12/06 FROM RITCHIE BROS.
    AUCTIONEERS (Sold during Chapter 11 and check was in
    possession of Blackbriar)
    (secured to Wells Fargo) RFS granted C.O. 11-10-16. Also
    see C.O. 11-1-17
 5. ALABAMA BUSINESS PRIVILEGE TAX REFUND (u)                                0.00                    0.00                            2,882.57              FA
    (secured to Wells Fargo Bank) RFS granted C.O. 11-10-16
    Also see C.O. 11-1-17
 6. RESTITUTION PAYMENT BY CINDY LUE SANBORN                                 0.00                3,450.00                            3,450.00              FA
 (u)
 7. COMPLAINT V. BLAKELEY BOATWORKS, ADV. NO.                                0.00             92,160.10                                  0.00              FA
 17-00077 (u)
    TO RECOVER FRAUDULENT AND/OR
    PREFERENTIAL TRANSFERS
    Blakeley Boatworks motion for summary judgment granted
    C.O. 3-14-19 and Adversary proceeding dismissed WITH
    PREJUDICE 3-14-19
 8. COMPLAINT V. DUMAS INTERNATIONAL, ADV.                                   0.00             15,014.12        OA                        0.00                           0.00
 NO.17-00076 (u)
    TO RECOVER FRAUDULENT AND/OR
    PREFERENTIAL TRANSFERS
    Default judgment dated 12-22-17
    Abandonment to be heard at final hearing.
 9. COMPLAINT V.BAKER MARINE                                                 0.00             14,491.04        OA                        0.00                           0.00
 SOLUTIONS,ADV.NO.17-00075 (u)
    TO RECOVER FRAUDULENT AND/OR
    PREFERENTIAL TRANSFERS
    Default judgment dated 12-22-17
    Abandonment to be heard at final hearing




PFORM1                                                                                                                                                          Ver: 22.02b
             Case 15-03065                   Doc 791     Filed 11/04/19 Entered 11/04/19 16:06:50                                       Desc           Page
                                                                      1 of 3
                                                                    FORM 1
                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page:      2
                                                                  ASSET CASES
Case No:           15-03065         HAC Judge: HENRY A. CALLAWAY                                  Trustee Name: LYNN HARWELL ANDREWS
Case Name:         GRAHAM GULF, INC.                                                              Date Filed (f) or Converted (c):      10/11/16 (c)
                                                                                                  341(a) Meeting Date:                  11/14/16
                                                                                                  Claims Bar Date:                      01/31/17


                                1                                   2                         3                 4               5                           6
                                                                                     Estimated Net Value
                                                                                      (Value Determined      Property                                  Asset Fully
                                                                 Petition/             by Trustee, Less      Formally       Sale/Funds             Administered (FA)/
                        Asset Description                       Unscheduled           Liens, Exemptions,    Abandoned       Received by         Gross Value of Remaining
             (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)     OA=554(a)        the Estate                  Assets

 10. COMPLAINT-ADV. NO. 17-00078 V. KEVIN GROS (u)                            0.00           256,200.00                         30,000.00                  FA
    CONSULTING & MARINE SERVICES, INC. TO
    RECOVER FRAUDULENT AND/OR PREFERENTIAL
    TRANSFERS
    (See compromise approved C.O. 6-26-19)
 11. COMPLAINT V. C-PORT-STONE, LLC, ADV. NO.                                 0.00             21,803.67                        15,000.00                  FA
 17-00081 (u)
    TO RECOVER FRAUDULENT AND/OR
    PREFERENTIAL TRANSFERS - Demand made for
    $21,803.67
    Settlement offer of $15,000.00
    See order granting motion to approve settlement and
    compromise dated 1-26-18
 12. COMPLAINT V. EXXON MOBIL CORP., ADV. NO.                                 0.00             17,449.60                             7,500.00              FA
 17-00080 (u)
    TO RECOVER FRAUDULENT AND/OR
    PREFERENTIAL TRANSFERS
    See Order granting motion to approve settlement and
    compromise dated 1-26-18
 13. COMPLAINT V. BNA MARINE SERVICES, ADV.                                   0.00             25,819.45                             5,000.00              FA
 NO.17-00079 (u)
    TO RECOVER FRAUDULENT AND/OR
    PREFERENTIAL TRANSFERS - $25,819.45
    See order granting motion to compromise dated 3-22-18 -
    $5,000.00 payable in five installments of $1,000.00 each.
 14. COMPLAINT-ADV. NO. 17-00082 V. GRAHAM                           Unknown               1,500,000.00                      1,500,000.00                  FA
 HOLDING CO., (u)
    INC., DAVENPORT PROPERTIES, LLC, JANSON E.
    GRAHAM, SHAWN BLAIR, AND A. KEITH HAYLES TO
    RECOVER FRAUDULENT AND/OR PREFERENTIAL
    TRANSFERS, BREACH OF CONTRACT, BREACH OF
    FIDUCIARY DUTIES AND UNJUST ENRICHMENT. See
    compromise and settlement approved C.O. 11-6-18.
 15. COMPLAINT-ADV. NO. 17-00096 V. FORCE POWER                               0.00           120,824.55                              8,761.00              FA
 SYSTEMS (u)
    $120,824.55 See order approving settlement agreement
    dated 3-22-18 - settled for $8,761.00
 16. COMPLAINT-ADV. NO.17-00095 V. UNITED POWER                               0.00             53,476.45                             5,000.00              FA
 SYSTEMS (u)
    See compromise approved C.O. 5-23-18
 17. OFFICE EQUIPMENT (INCLUDING FURNITURE &                         Unknown                         0.00      OA                        0.00              FA
 COMPUTERS)
    (secuerd to Wells Fargo Bank)
    Order Approving Abandonment dated 7-31-19




PFORM1                                                                                                                                                          Ver: 22.02b
             Case 15-03065                  Doc 791      Filed 11/04/19 Entered 11/04/19 16:06:50                                       Desc           Page
                                                                      2 of 3
                                                                    FORM 1
                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                      Page:      3
                                                                  ASSET CASES
Case No:           15-03065         HAC Judge: HENRY A. CALLAWAY                                    Trustee Name: LYNN HARWELL ANDREWS
Case Name:         GRAHAM GULF, INC.                                                                Date Filed (f) or Converted (c):      10/11/16 (c)
                                                                                                    341(a) Meeting Date:                  11/14/16
                                                                                                    Claims Bar Date:                      01/31/17


                                1                                    2                         3                  4               5                            6
                                                                                      Estimated Net Value
                                                                                       (Value Determined       Property                                   Asset Fully
                                                                  Petition/             by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                        Asset Description                        Unscheduled           Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
             (Scheduled and Unscheduled (u) Property)              Values               and Other Costs)      OA=554(a)        the Estate                   Assets

 18. BP SETTLEMENT                                                   600,000.00                        0.00                                0.00               FA
   (secured to Wells Fargo Bank) RFS granted C.O. 11-10-16
 19. COMPLAINT-ADV. NO. 17-00105 V. AMERICAN                                   0.00                3,000.00      OA                    1,200.00                            0.00
 SUPPLY (u)
   See compromise approved C.O. 3-2-18. $3,000.00 to be
   paid in monthly installments of $300.00 per month.
   American Supply stopped paying, and we learned that the
   business has gone under and closed. $1,800.00 balance to be
   abandoned at final hearing..
 20. COMPLAINT-ADV. NO. 17-00106 V. THRUSTMASTER                               0.00             16,344.63                              5,000.00               FA
 OF (u)
   TEXAS ($16,344.63)
   See Order approving settlement agreement dated 8-15-18
 21. COMPLAINT-ADV. NO. 17-00093 V. MARTIN                                     0.00             19,249.91                         19,249.91                   FA
 ENERGY (u)
   SERVICES, LLC. See compromise approved C.O. 4-24-18
 22. RETURN OF CREDIT BALANCE ON BANKDIRECT                                    0.00             20,389.55                         20,389.55                   FA
 ACCOUNT (u)
   576934
 23. MISC. FILES AND RECORDS OF THE DEBTOR                                     0.00                    0.00      OA                        0.00               FA
 AND/OR ANY (u)
   ASSOCIATED ENTITIIES EITHER IN POSSESSION OF
   TRUSTEE'S COUNSEL OR REMAINING AT THE
   DEBTOR'S FORMER PLACE OF BUSINESS. Order
   Approving Abandonment dated 7-31-19

                                                                                                                                                  Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                $1,749,251.81            $2,195,546.46                      $1,648,816.92                            $0.00
                                                                                                                                                    (Total Dollar Amount
                                                                                                                                                           in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 Abandonment of uncollected default judgments in adversary proceedings. Considering possible sale of
 any remnant (unknown) assets.

 Initial Projected Date of Final Report (TFR): 04/30/18          Current Projected Date of Final Report (TFR): 12/31/19

       /s/    LYNN HARWELL ANDREWS
 __________________________________________ Date: 11/04/19
       LYNN HARWELL ANDREWS




PFORM1                                                                                                                                                             Ver: 22.02b
             Case 15-03065                  Doc 791       Filed 11/04/19 Entered 11/04/19 16:06:50                                        Desc           Page
                                                                       3 of 3
